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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                       Western Division
                                      Office of the Clerk

Wendy R. Oliver, Clerk                                                                Deputy-in-Charge
242 Federal Building                                                        U. S. Courthouse, Room 262
167 N. Main Street                                                          111 South Highland Avenue
Memphis, Tennessee 38103                                                      Jackson, Tennessee 38301
(901) 495-1200                                                                           (713) 421-9200



                                    NOTICE OF SETTING
                     Before Judge Mark S. Norris, United States District Judge


                                            October 31, 2023


              RE:    2:23cr20191-04-MSN
                     USA v. DESMOND MILLS, JR.

              Dear Sir/Madam:

         A CHANGE OF PLEA HEARING has been SET before Judge Mark S. Norris on
     THURSDAY, 11/02/2023 at 10:00 AM in Courtroom 4, 9th floor of the Federal Building,
     Memphis, Tennessee.

            Please submit the proposed plea agreement, a summary of the elements of the
     offense(s) charges and the statutory penalties to chambers at least one (1) day in advance of
     the change of plea hearing by emailing it to: ECF_Judge_Norris@tnwd.uscourts.gov.

             As to defendants on bond, failure to appear without leave of court will result in a
     forfeiture of appearance bond and issuance of a warrant for arrest.

         THE DEFENSE COUNSEL SHALL PERSONALLY CONTACT THE
     DEFENDANT TO INSURE HIS/HER ATTENDANCE AT THE DESIGNATED TIME.

              If you have any questions, please contact the case manager at the number provided
     below.

                                          Sincerely,
                                          WENDY R. OLIVER, CLERK

                                          BY:    S/ Zandra Frazier
                                                 Zandra Frazier, Case Manager
                                                 901-495-1277
                                                 E-mail: zandra_frazier@tnwd.uscourts.gov
